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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                      CASE NO.: 9:23-cv-80309-RS

        SHANNEN DUGAN,

                   Plaintiff,

        v.

        ACCOUNT RESOLUTION SERVICES1,
        AND EXPERIAN INFORMATION
        SOLUTIONS, INC.,

                 Defendant.
        _______________________________/


              JOINT NOTICE OF SETTLEMENT AS TO DEFENDANT HEALTHCARE
             REVENUE RECOVERY GROUP, LLC d/b/a/ ARS ACCOUNT RESOLUTION
                                     SERVICES

               Plaintiff, Shannen Dugan, and Defendant, Healthcare Revenue Recovery Group, LLC

    d/b/a/ ARS Account Resolution Services, by and through their undersigned counsel, hereby

    notify the Court that the aforementioned Parties have reached a settlement in the above-

    captioned matter.

               The parties are in the process of finalizing the terms of settlement and respectfully

    request that this Court allow forty-five (45) days to complete the settlement, during which time

    the Parties request this Court retain jurisdiction over this matter until fully resolved. The Parties




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     Defendant’s correct name is Healthcare Revenue Recovery Group, LLC d/b/a/ ARS
    Account Resolution Services.
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    anticipate that a joint stipulation to voluntary dismissal with Prejudice will be filed within

    forty-five (45) days.

    Dated this 4th day of May 2023.

     /s/ Craig B. Sanders                              /s/ Ernest H. Kohlmyer, III
     Craig B. Sanders, Esquire                         Ernest H. Kohlmyer, III, Esquire
     Florida Bar No.: 985686                           Florida Bar No. 110108
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     Sanders Law Group                                 Shepard, Smith, Kohlmyer & Hand, P.A.
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     Suite 402                                         Maitland, Florida 32751
     Uniondale, New York 11553                         Telephone (407) 622-1772
     Telephone (516) 203-7600                          Facsimile (407) 622-1884
     Facsimile (516) 282-7878                          Attorneys for Defendant, Healthcare
     Attorneys for Plaintiff                           Revenue Recovery Group, LLC d/b/a/ ARS
                                                       Account Resolution Services



                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on May

    4, 2023, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing has been

    sent via electronic transmission to the following: Craig B. Sanders, Esquire at

    csanders@sanderslaw.group (Attorneys for Plaintiff).



                                                      /s/ Ernest H. Kohlmyer, III
                                                      Ernest H. Kohlmyer, III
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                                            Attorneys for Defendant Healthcare
                                            Revenue Recovery Group, LLC d/b/a/
                                            ARS Account Resolution Services




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